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 1                              UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3   ELVIS WELLS,                                        Case No. 2:19-cv-00522-APG-VCF
 4                        Petitioner,
           v.                                            ORDER
 5
     BRIAN WILLIAMS, et al.,                             (ECF No. 30)
 6
                          Respondents.
 7

 8          I HEREBY ORDER that the respondents’ motion for enlargement of time (ECF No. 30)
 9   is GRANTED. The respondents have until November 30, 2020 to answer the remaining Ground
10   1 of the Petition for Writ of Habeas Corpus (ECF No. 1).
11          Dated: October 26, 2020.
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13                                                      ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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